            Case 2:19-cv-00056-RMP                   ECF No. 16          filed 10/03/19     PageID.121 Page 1 of 1
AO 450 (Rev. 11/11) Judgment in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                  for the_                                              FILED IN THE
                                                                                                                    U.S. DISTRICT COURT
                                                     Eastern District of Washington                           EASTERN DISTRICT OF WASHINGTON


             HALEY KARNITZ, an individual,                                                                     Oct 03, 2019
                                                                     )                                             SEAN F. MCAVOY, CLERK

                             Plaintiff                               )
                                v.                                   )        Civil Action No. 2:19-CV-56-RMP
  AMERICAN MEDICAL RESPONSE AMBULANCE                                )
      SERVICE, INC, a Delaware corporation,                          )


                            Defendant
                                             JUDGMENT OF DISMISSAL
The court has ordered that (check one):

’ the plaintiff (name)                                                                                        recover from the
defendant (name)                                                                                                 the amount of
                                                                            dollars ($              ), which includes prejudgment
interest at the rate of                   %, plus post judgment interest at the rate of            % per annum, along with costs.

’ the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                 recover costs from the plaintiff (name)
                                          .

✔ other: The Stipulated Motion to Dismiss with Prejudice, ECF No. 14, is GRANTED.
’
               Plaintiff’s Complaint is dismissed with prejudice and without fees or costs to any party.




This action was (check one):
’ tried by a jury with Judge                                                                         presiding, and the jury has
rendered a verdict.

’ tried by Judge                                                                          without a jury and the above decision
was reached.

✔
’ decided by Judge            Rosanna Malouf Peterson                                          on the parties' Stipulation of
      dismissal (ECF No. 14).


Date: October 3, 2019                                                       CLERK OF COURT

                                                                             SEAN F. McAVOY

                                                                             s/ Angela Noel
                                                                                          (By) Deputy Clerk

                                                                             Angela Noel
